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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                              :

                  v.                                  :                  NO. 20-CR-210

MICHAEL "OZZIE" MYERS"                                :


   GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
                      CONTINUE SENTENCING

         The United States of America, by its attorneys, Jacqueline C. Romero, United States

Attorney for the Eastern District of Pennsylvania, and Eric L. Gibson and Richard P. Barrett,

Assistant United States Attorneys for the District, responds in opposition to defendant Myers’

motion to continue his sentencing. Defendant Myers was first indicted nearly two years ago.

Defendant entered his guilty plea approximately four months before his presently scheduled

sentencing. Myers’ rationale – relating once again to his age, health, and unspecified medical

condition 1 – is insufficient to warrant delay and relies upon his description of circumstances that

are not going to improve with the passage of additional time. 2 Moreover, his current medical

circumstances are described in detail and with particularity in the Presentence Investigation

Report (PSR), and there is nothing alleged by Myers regarding his health that the Bureau of

Prisons (BOP) cannot adequately address or mitigate during his confinement if he receives a

custodial sentence. Nor is the government even seeking his immediate incarceration should this

Court impose a sentence of imprisonment. Any additional information that will assist BOP in



1 Myers relied on his age, health, and unspecified medical conditions in multiple motions to the Court to
successfully and unsuccessfully justify multiple delays in the disposition of these charges before ultimately deciding
to plead guilty. See ECF No. 93.
2 In his latest filing, Myers also details a litany of health ailments related to his family members whom he describes
as either potential witnesses at sentencing or resources to assist counsel in preparing for sentencing. He leaves
unexplained how their individual circumstances will improve or change with the passage of additional time.

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designating Myers to an appropriate correctional facility can and will be collected following his

sentencing. Similarly, any medical appointments he wishes to undertake can be scheduled

between his sentencing and any surrender date directed by this Court. In support of this

response, the government avers as follows:

               1.      In this case, former U.S. Congressman Michael “Ozzie” Myers was

charged by Indictment on July 21, 2020 with conspiring to violate voting rights by fraudulently

stuffing the ballot boxes in Philadelphia’s 39th Ward, 36th Division for specific political

candidates in the 2014, 2015, and the 2016 primary elections, bribery of an election official,

falsification of records, voting more than once in federal elections, and obstruction of justice.

On October 12, 2021, the federal grand jury returned a Superseding Indictment alleging similar

offenses with respect to acts of voter fraud orchestrated by defendant in Philadelphia’s 39th

Ward, 2nd Division.

               2.      On June 6, 2022, Myers pled guilty to Counts 1, 2, 8, 10, and 12 of the

superseding indictment, charging him with conspiracy to deprive persons of civil rights, in

violation of 18 U.S.C. § 241 (Count 1), Travel Act bribery, in violation of 18 U.S.C. §

1952(a)(3) (Count 2), obstruction, in violation of 18 U.S.C. § 1512(b)(3) (Count 8), falsification

of voting records, and willfully causing the falsification of voting records, in violation of 18

U.S.C. §§ 1519 and 2 (Count 10), and conspiring to illegally vote in a federal election, in

violation of 52 U.S.C. § 10307(c) (Count 12), all arising from his actions over a period of years

in organizing and directing ballot stuffing schemes in south Philadelphia’s 39th Ward, 36th

Division and the 39th Ward, 2nd Division.

               3.      Defendant’s physical condition is described at length and in detail in the


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draft report prepared by Probation Officer Talia Santella on August 22, 2022. PSR ¶¶ 101-108.

In order to complete the draft report, Probation Officer Santella obtained records and

documentation from his former primary care physician, Pennsylvania Hospital, Penn Medicine,

Penn Highlands DuBois West, and Penn Highlands Clearfield Hospital. Id. His overall

prognosis is described in the report. PSR ¶ 103. Officer Santella also interviewed defendant

Myers and Myers’ family members regarding his health and physical condition. PSR ¶¶ 93, 97,

101, 102. Myers himself denied any past or present mental health or emotional issues. PSR ¶

109. He further denied any need for treatment for any addictive issues. PSR ¶ 111-113.

               4.      Defendant Myers now asserts that because of his advanced age and the

physical and medical conditions of both Myers and his family members, delay is necessary in

order to present additional factual information to the Court in order to address the sentencing

considerations set forth in 18 U.S.C. § 3553(a). His motion does little to explain why he has not

been able to collect this information over the last several months. Nor does he explain when the

concerns he attributes to his own health or that of his family members (potential witnesses) will

diminish or improve sufficiently to allow the sentencing proceedings to commence. And, as

already noted, his family members were interviewed by Probation already and their contributions

have been memorialized in the PSR.

               5.      Myers’ undeveloped assertions regarding his preference for further delay

do not outweigh the public’s interest in seeing this criminal matter resolved. Moreover, the

Probation Department has conducted a fulsome presentence investigation and has sufficiently

addressed in detail precisely the circumstances raised by Myers as justification for delay.




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              WHEREFORE, the government respectfully opposes defendant’s Motion to

Continue Sentencing. Pursuant to the public interest and the ends of justice and in accord with

this Court’s previous scheduling order, sentencing should commence on September 27, 2022.


                                                    Respectfully submitted,

                                                    JACQUELINE C. ROMERO
                                                    United States Attorney


                                            By:

                                                    /s/ Eric L. Gibson
                                                    ERIC L. GIBSON
                                                    RICHARD P. BARRETT
                                                    Assistant United States Attorneys




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Government’s Response in Opposition

to Defendant’s Motion to Continue Sentencing has been served upon all counsel of record

electronically and via ECF.



                                            s/Eric L. Gibson
                                            ERIC L. GIBSON
                                            Assistant United States Attorney


Dated: September 12, 2022




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